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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

 MEDARC, LLC, as Collection Agent for        §
 Jeffrey H. Mims, Trustee of the             §
 Liquidating Trust of Revolution             §
 Monitoring, LLC, Revolution                 §
 Monitoring Management, LLC, and             §
 Revolution Neuromonitoring, LLC,            §
                                             §
                                                      CIVIL ACTION NO. _________
       Plaintiff,                            §
                                             §
 v.                                          §
                                             §
 MERITAIN HEALTH INC.                        §
                                             §
       Defendant.                            §



                     NOTICE OF REMOVAL OF CIVIL ACTION


        Defendant Meritain Health Inc. (“Meritain”) files this Notice of Removal of Civil

  Action brought by Plaintiff MedARC, as Collection Agent for Jeffrey H. Mims, Trustee of

  the Liquidating Trust of Revolution Monitoring, LLC, Revolution Monitoring

  Management, LLC, and Revolution Neuromonitoring, LLC (“MedARC”). The grounds in

  support of this Notice of Removal are as follows:

        1.     The State Court Action, Parties and Pleadings. Plaintiff filed its Original

  Petition (hereinafter referred to as the “Complaint”) against Meritain on September 25,

  2020, in the 101st Judicial District Court of Dallas County, Texas, under Cause Number

  DC-20-14089 (the “State Court Action”). A true and correct copy of the State Court Civil
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  Docket Sheet is attached hereto as Exhibit A. 1 A true and correct copy of the Complaint

  is attached hereto as Exhibit B.

         2.      Meritain was served or otherwise received a copy of the Complaint on

  October 2, 2020. A true and correct copy of the citation received by Meritain, along with

  the executed return, are attached hereto as Exhibit C and Exhibit D, respectively.

         3.      To avoid entry of a default judgment against it, Meritain filed an answer in

  state court on October 23, 2020, a true and correct copy of which is attached as Exhibit E.

         4.      This Notice is Timely Pursuant to 28 U.S.C. § 1446(b). This Notice of

  Removal of Civil Action is being removed prior to the expiration of the statutorily allowed

  thirty (30) day period after the date that Meritain was served with or otherwise received a

  copy of the Complaint.

         5.      Complete Diversity of Citizenship Confers Jurisdiction. This case

  involves a controversy wholly between citizens of different states, and the amount in

  controversy exceeds the sum of $75,000, exclusive of interest and costs. Therefore, this is

  a civil action in which the district courts of the United States have original diversity

  jurisdiction pursuant to 28 U.S.C. § 1332, and is one which may be removed to this Court

  pursuant to 28 U.S.C. § 1441(a).



     1
          Pursuant to LR 81.1 of the Local Rules of the United States District Court for the Northern
  District of Texas, Meritain has attached to this Notice of Removal as Exhibits A through G: (A)
  the State Court Docket Sheet; (B) the Complaint; (C) citation received by Meritain Health Inc.;
  (D) return of service to Meritain Health Inc.; (E) Defendant Meritain Health Inc.’s General Denial;
  (F) Notice of Removal filed in the State Court Action; and (G) Certificate of Interested Parties.
  Meritain has also attached an index of documents being filed with the Notice of Removal, the Civil
  Cover Sheet, Supplemental Civil Cover Sheet, and Notice of Related Case.

                                                  2
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         6.      Specifically, the Complaint alleges that Plaintiff, MedARC LLC, is a Texas

  Limited Liability Company organized in the State of Texas with its principal place of

  business in Dallas, Texas. 2 Based on information and belief, MedARC LLC’s sole member

  is Russell Lambert, a citizen of the State of Texas. Based on information and belief, at the

  time the State Court Action was filed and as of the date of filing of this Notice of Removal,

  Russell Lambert was and continues to be a citizen of the State of Texas. 3

         7.      Additionally, or alternatively, based on information and belief, Jeffrey H.

  Mims was a citizen of the State of Texas at the time the State Court Action was filed and

  continues to be a citizen of the State of Texas as of the time of filing of this Notice of

  Removal. 4

         8.      Defendant Meritain is a corporation that was incorporated under the laws of

  the State of New York and had its principal place of business in the State of New York at



     2
         Exhibit B, at p. 2, ¶ 2.
     3
         To the extent that there are any additional members, they are citizens of the State of Texas.
     4
          Additionally, or alternatively, the Complaint alleges that Revolution Monitoring LLC is a
  Texas Limited Liability Company. Based on information and belief, Revolution Monitoring LLC’s
  sole member is Jeremiah Vance, and at the time the State Court Action was filed and as of the time
  of filing this Notice of Removal, Jeremiah Vance was and continues to be a citizen of the State of
  Texas. The Complaint further alleges that Revolution Neuromonitoring LLC and Revolution
  Monitoring Management LLC are affiliates of Revolution Monitoring LLC. Revolution
  Neuromonitoring LLC is a Texas Limited Liability Company. Based on information and belief,
  Revolution Neuromonitoring LLC’s members are Jeremiah Vance (a citizen of Texas as described
  above) and/or Brad Risner. At the time the State Court Action was filed and as of the time of filing
  this Notice of Removal, Brad Risner was and continues to be a citizen of the State of Texas. Based
  on information and belief, Revolution Monitoring Management LLC is a Texas Limited Liability
  Company. Based on information and belief, Revolution Monitoring Management LLC’s sole
  member is Revolution Monitoring LLC (the Texas LLC described above). To the extent there
  additional members of any of these entities, they are citizens of the State of Texas.

                                                   3
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  the time the State Court Action was filed. As of the date of filing of this Notice of Removal,

  Meritain continues to be incorporated in and have its principal place of business in the State

  of New York. Meritain did not have its principal place of business in the State of Texas

  and was not incorporated under the laws of the State of Texas at the time of the filing of

  the State Court Action or at the time of the filing of the Notice of Removal.

           9.    Furthermore, the amount in controversy in this action exceeds the sum of

  $75,000.00, exclusive of interest and costs, in that Plaintiff is seeking to recover monetary

  relief in excess of $1,000,000. Ex. B at ¶ 2. Therefore, it is facially apparent, or more likely

  than not, that the amount in controversy exceeds $75,000.00, exclusive of interest and

  costs.

           10.   Plaintiff Asserts Claims That Arise Under the Laws of the United States.

  Additionally, or alternatively, the Complaint asserts violations of ERISA. 5 Ex. B (Prayer

  for Relief). Therefore, Plaintiff’s State Court Action may be removed to this Court because

  it arises under the laws of the United States on the face of the Complaint.

           11.   Notice Filed in the State Court. Promptly after filing this Notice of

  Removal, Meritain will provide written notice of removal to Plaintiff and will file a copy




     5
           Employee Retirement Income Security Act of 1974, 29 U.S.C. § 1001, et seq. Moreover,
  Plaintiff’s breach of contract and other state-law claims arising out of the denial or alleged
  underpayments of medical claims under any health benefit plans governed by ERISA are
  completely preempted by ERISA’s civil enforcement scheme codified at 29 U.S.C. §
  1132(a)(1)(B). Lone Star OB/GYN Assocs. v. Aetna Health Inc., 579 F.3d 525, 531 (5th Cir. 2009).

                                                 4
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  of this Notice of Removal with the Clerk for the District Court of Dallas County, Texas, as

  provided by law. 6

         WHEREFORE, PREMISES CONSIDERED, Defendant Meritain Health Inc. prays

  that the State Court Action be removed to the United States District Court for the Northern

  District of Texas, Dallas Division.




     6
         A true and correct copy of the Notice being filed with the 101st Judicial District Court of
  Dallas County, Texas, is attached hereto as Exhibit F.

                                                  5
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                                       Respectfully submitted,


   OF COUNSEL:                         By: /s/ John B. Shely
                                          JOHN B. SHELY
   M. KATHERINE STRAHAN                   State Bar No. 18215300
   State Bar No. 24013584                 600 Travis, Suite 4200
   kstrahan@HuntonAK.com                  Houston, Texas 77002
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   kelseyhope@HuntonAK.com                jshely@HuntonAK.com
   HUNTON ANDREWS KURTH LLP
   600 Travis Street, Suite 4200
   Houston, Texas 77002                      ATTORNEYS FOR DEFENDANT
   Telephone: (713) 220-4200                 MERITAIN HEALTH INC.
   Facsimile: (713) 220-4285

   LOCAL COUNSEL:

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   Dallas, Texas 75202-2799
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   Facsimile: (214) 880-0011




                                         6
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                                     CERTIFICATE OF SERVICE

         I hereby certify that on October 30, 2020, a true and correct copy of the Aetna’s
  Notice of Removal of Civil Action was served on the following counsel of record by
  placing same in the United States Certified Mail, Return Receipt Requested:

          Craig A. Albert
          calbert@cplalaw.com
          Jonathon A. Aldaco
          jaldaco@cplalaw.com
          Cherry Peterson Landry Albert LLP
          8350 North Central Expressway, Suite1500
          Dallas, Texas 75206


                                                   /s/ M. Katherine Strahan
                                                   M. Katherine Strahan




                                               7

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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

 MEDARC, LLC, as Collection Agent for                §
 Jeffrey H. Mims, Trustee of the Liquidating         §
 Trust of Revolution Monitoring, LLC,                §
 Revolution Monitoring Management, LLC,              §
 and Revolution Neuromonitoring, LLC,                §
                                                     §
          Plaintiff,                                 §       CIVIL ACTION NO.________________
                                                     §
 v.                                                  §
                                                     §
 MERITAIN HEALTH INC.                                §
                                                     §
          Defendant.                                 §



                            INDEX OF DOCUMENTS BEING FILED
                              WITH THE NOTICE OF REMOVAL


  Civil Cover Sheet
  Supplemental Civil Cover Sheet
  Notice of Related Case

      Exhibit    Exhibits to the Notice of Removal                  Date Filed in State
                                                                    Court

         A.      State Court Docket Sheet

         B.      Plaintiff’s Original Petition                      September 25, 2020

         C.      Issue Citation to Meritain Health Inc.             September 28, 2020

         D.      Return of Service to Meritain Health Inc.          October 7, 2020

         E.      Meritain Health Inc.’s General Denial              October 23, 2020

         F.      Notice of Removal of State Court Action

         G.      Certificate of Interested Parties
            Case 18-33730-hdh11 Doc 296-1
JS 44 (Rev. 10/20)                                              CIVILFiled 11/16/20
                                                                               COVER SHEET      Entered 11/16/20 15:45:53 Page 9 of 54
                        Case      3:20-cv-03281-N               Document           1    Filed   10/30/20            Page 9 of 54 PageID 9
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                                      DEFENDANTS
          MEDARC, LLC, as Collection Agent for Jeffrey H. Mims, Trustee of the Liquidating Trust of Revolution
          Monitoring, LLC, Revolution Monitoring Management, LLC, and Revolution Neuromonitoring, LLC                   Meritain Health Inc.
   (b) County of Residence of First Listed Plaintiff                   Dallas County, TX                               County of Residence of First Listed Defendant
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                           (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                       NOTE:     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                 THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                                             Attorneys (If Known)
       Craig A. Albert, Jonathon A. Aldaco, Cherry Peterson Landry                                                      John B. Shely, M. Katherine Strahan, Kelsey J. Hope, Tonya Gray,
       Albert LLP, 8350 North Central Expy, Ste. 1500 Dallas, TX 75206                                                  Hunton Andrews Kurth LLP, 600 Travis St. Ste 4200, Houston, TX
       Telephone: (214) 265-7007                                                                                        77002, Telephone: (713) 220-4200
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                               III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                                  (For Diversity Cases Only)                                     and One Box for Defendant)
  1    U.S. Government                      3   Federal Question                                                                           PTF          DEF                                        PTF      DEF
         Plaintiff                                (U.S. Government Not a Party)                             Citizen of This State            1            1     Incorporated or Principal Place         4     4
                                                                                                                                                                  of Business In This State

  2    U.S. Government                      4   Diversity                                                   Citizen of Another State              2         2   Incorporated and Principal Place           5         5
         Defendant                                (Indicate Citizenship of Parties in Item III)                                                                   of Business In Another State

                                                                                                            Citizen or Subject of a               3         3   Foreign Nation                             6         6
                                                                                                              Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                                 Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                                    TORTS                                      FORFEITURE/PENALTY                      BANKRUPTCY                       OTHER STATUTES
  110 Insurance                           PERSONAL INJURY                   PERSONAL INJURY                      625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                              310 Airplane                     365 Personal Injury -                     of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                          315 Airplane Product                  Product Liability                690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument                    Liability                   367 Health Care/                                                                                             400 State Reapportionment
  150 Recovery of Overpayment             320 Assault, Libel &                 Pharmaceutical                                                         PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment                Slander                         Personal Injury                                                         820 Copyrights                   430 Banks and Banking
  151 Medicare Act                        330 Federal Employers’               Product Liability                                                       830 Patent                       450 Commerce
  152 Recovery of Defaulted                    Liability                   368 Asbestos Personal                                                       835 Patent - Abbreviated         460 Deportation
       Student Loans                      340 Marine                            Injury Product                                                             New Drug Application         470 Racketeer Influenced and
       (Excludes Veterans)                345 Marine Product                    Liability                                                              840 Trademark                        Corrupt Organizations
  153 Recovery of Overpayment                  Liability                  PERSONAL PROPERTY                               LABOR                        880 Defend Trade Secrets         480 Consumer Credit
      of Veteran’s Benefits               350 Motor Vehicle                370 Other Fraud                       710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
  160 Stockholders’ Suits                 355 Motor Vehicle                371 Truth in Lending                      Act                                                                485 Telephone Consumer
  190 Other Contract                          Product Liability            380 Other Personal                    720 Labor/Management                  SOCIAL SECURITY                      Protection Act
  195 Contract Product Liability          360 Other Personal                   Property Damage                       Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                               Injury                       385 Property Damage                   740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                          362 Personal Injury -                Product Liability                 751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                              Medical Malpractice                                                    Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                         CIVIL RIGHTS                   PRISONER PETITIONS                    790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation                   440 Other Civil Rights            Habeas Corpus:                       791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                         441 Voting                        463 Alien Detainee                       Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment              442 Employment                    510 Motions to Vacate                                                     870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                       443 Housing/                          Sentence                                                                   or Defendant)                896 Arbitration
  245 Tort Product Liability                  Accommodations                530 General                                                               871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property             445 Amer. w/Disabilities -        535 Death Penalty                        IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                              Employment                    Other:                               462 Naturalization Application                                             Agency Decision
                                          446 Amer. w/Disabilities -        540 Mandamus & Other                 465 Other Immigration                                                  950 Constitutionality of
                                              Other                         550 Civil Rights                         Actions                                                                State Statutes
                                          448 Education                     555 Prison Condition
                                                                            560 Civil Detainee -
                                                                                Conditions of
                                                                                Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original                 2 Removed from                       3     Remanded from                    4 Reinstated or              5 Transferred from
                                                                                                                                                       6 Multidistrict                             8 Multidistrict
    Proceeding                 State Court                              Appellate Court                    Reopened                     Another District   Litigation -                              Litigation -
                                                                                                                                        (specify)          Transfer                                  Direct File
                                            Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                            28 U.S.C. § 1332, alternatively 29 U.S.C. § 1132(a)
VI. CAUSE OF ACTION Brief description of cause:
                                            Plaintiff asserts claims for damages arising out of alleged underpayment for health care benefit plans.
VII. REQUESTED IN                                CHECK IF THIS IS A CLASS ACTION                                 DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:                                  UNDER RULE 23, F.R.Cv.P.                                                                                   JURY DEMAND:           Yes       No
VIII. RELATED CASE(S)
                                                (See instructions):
      IF ANY                                                             JUDGE             Hon. Harlin D. Hale (See Notice of Related Case)           DOCKET NUMBER               18-33730-hdh11

DATE                                                                         SIGNATURE OF ATTORNEY OF RECORD
October 30, 2020
FOR OFFICE USE ONLY

  RECEIPT #                       AMOUNT                                          APPLYING IFP                                        JUDGE                             MAG. JUDGE
           Case 18-33730-hdh11 Doc 296-1 Filed 11/16/20 Entered 11/16/20 15:45:53 Page 10 of 54
JS 44 Reverse (Rev. 10/20)
                Case 3:20-cv-03281-N Document 1 Filed 10/30/20 Page 10 of 54 PageID 10
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

         Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
        in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
        United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
        United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
        Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
        to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
        precedence, and box 1 or 2 should be marked.
        Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
        citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
        cases.)

         Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
        section for each principal party.

         Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
        that is most applicable. Click here for: Nature of Suit Code Descriptions.

         Origin. Place an "X" in one of the seven boxes.
        Original Proceedings. (1) Cases which originate in the United States district courts.
        Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
        Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
        date.
        Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
        Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
        multidistrict litigation transfers.
        Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
        Section 1407.
        Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket. PLEASE
        NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to changes in
        statu e.

         Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
        statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

         Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
        Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
        Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

         Related Cases. This section of the JS 44 is used to reference related cases, if any.




Date and Attorney Signature. Date and sign the civil cover sheet.
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Supplemental Civil Cover Sheet
Page 1 of

                         Supplemental Civil Cover Sheet for Cases Removed
                                        From State Court


This form must be attached to the Civil Cover Sheet at the time the case is filed in the U.S. District
                  Clerk’s Office. Additional sheets may be used as necessary.


    1. State Court Information:

        Please identify the court from which the case is being removed and specify the number assigned
        to the case in that court.

                                     Court                                                          Case Number
         101st Judicial District Court, Dallas County, Texas                 DC-20-14089


    2. Style of the Case:

        Please include all Plaintiff(s), Defendant(s), Intervenor(s), Counterclaimant(s), Crossclaimant(s)
        and Third Party Claimant(s) still remaining in the case and indicate their party type. Also, please
        list the attorney(s) of record for each party named and include their bar number, firm name,
        correct mailing address, and phone number (including area code).

                         Party and Party Type                                                         Attorney(s)
         Plaintiff MedARC LLC, as Collection Agent for Jeffrey H. Mims, Trustee Craig A. Albert, State Bar No. 00790076, Jonathon A. Aldaco,
         of the Liquidating Trust of Revolution Monitoring, LLC, Revolution State Bar No. 24093770, Cherry Peterson Landry Albert LLP, 8350 N.
         Monitoring Management, LLC, and Revolution Neuromonitoring, LLC Central Expy. Ste. 1500, Dallas, TX 75206 Telephone: (214) 265-7007
         Defendant Meritain Health Inc.                                      John B. Shely, State Bar No. 18215300, M. Katherine Strahan,
                                                                             State Bar No. 24013584, Kelsey J. Hope, State Bar No. 24092538,
                                                                             Tonya Gray, State Bar No. 24012726, Hunton Andrews Kurth LLP

    3. Jury Demand:                                                          600 Travis St., Ste. 4200 Houston, TX77002, Telephone: (713) 220-4200



        Was a Jury Demand made in State Court?                                   Yes                              No
                  If “Yes,” by which party and on what date?

                  ___________________________________                                       ______________________
                  Party                                                                     Date
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Supplemental Civil Cover Sheet
Page 2 of

    4. Answer:

        Was an Answer made in State Court?           Yes                       No
                 If “Yes,” by which party and on what date?

                 ___________________________________
                 Meritain                                             ______________________
                                                                      October 23, 2020
                 Party                                                Date


    5. Unserved Parties:

        The following parties have not been served at the time this case was removed:

                                 Party                              Reason(s) for No Service
         None




    6. Nonsuited, Dismissed or Terminated Parties:

        Please indicate any changes from the style on the State Court papers and the reason for that
        change:

                                 Party                                         Reason
         None




    7. Claims of the Parties:

        The filing party submits the following summary of the remaining claims of each party in this
        litigation:

                                 Party                                         Claim(s)
         Plaintiff                                    Plaintiff has asserted claims against Defendant alleging that
                                                      Defendant failed to properly reimburse Revolution
                                                      Monitoring, LLC, Revoluiton Monitoring Management, LLC,
                                                      and Revolution Neuromonitoring, LLC, for services provided
                                                      pursuant to health benefit plans.
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                         Exhibit A
        Case
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            Case Information

            DC-20-14089 | MEDARC, LLC vs. MERITAIN HEALTH, INC

            Case Number                             Court                  Judicial Officer
            DC-20-14089                             101st District Court   WILLIAMS, STACI
            File Date                               Case Type              Case Status
            09/25/2020                              CNTR CNSMR COM DEBT    OPEN




            Party

            PLAINTIFF                                                      Active Attorneys 
            MEDARC, LLC                                                    Lead Attorney
                                                                           ALBERT, CRAIG A
                                                                           Retained




            DEFENDANT                                                      Active Attorneys 
            MERITAIN HEALTH, INC                                           Lead Attorney
                                                                           SHELY, JOHN BRUCE
            Address
                                                                           Retained
            SERVING REGISTERED AGENT CT CORPORATION SYSTEM
            1999 BRYAN ST STE 900
            DALLAS TX 75201




            Events and Hearings



https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0#                         1/3
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               09/25/2020 NEW CASE FILED (OCA) - CIVIL


               09/25/2020 ORIGINAL PETITION 


               ORIGINAL PETITION


               09/25/2020 ISSUE CITATION 


               ISSUE CITATION - MERITAIN HEALTH, INC.


               09/28/2020 CITATION 


               Served
               10/02/2020

               Anticipated Server
               ESERVE

               Anticipated Method
               Actual Server
               PRIVATE PROCESS SERVER

               Returned
               10/07/2020
               Comment
               MERITAIN HEALTH, INC.


               10/07/2020 RETURN OF SERVICE 


               EXECUTED CITATION: MERITAIN HEALTH, INC.

                  Comment
                  EXECUTED CITATION: MERITAIN HEALTH, INC.


               10/23/2020 ORIGINAL ANSWER - GENERAL DENIAL 


               ORIGINAL ANSWER


               12/04/2020 DISMISSAL FOR WANT OF PROSECUTION 


               Judicial Officer
               WILLIAMS, STACI

               Hearing Time
               9:00 AM




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0#                         2/3
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            Financial

            MEDARC, LLC
                   Total Financial Assessment                                                      $300.00
                   Total Payments and Credits                                                      $300.00


               9/28/2020    Transaction Assessment                                                $300.00

               9/28/2020    CREDIT CARD - TEXFILE              Receipt # 59905-2020-   MEDARC,   ($300.00)
                            (DC)                               DCLK                    LLC




            Documents


                ORIGINAL PETITION
                ISSUE CITATION - MERITAIN HEALTH, INC.
                EXECUTED CITATION: MERITAIN HEALTH, INC.
                ORIGINAL ANSWER




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0#                                     3/3
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                         Exhibit B
                                                                                                                                                FILED
                                                                                                    PM                             9/25/2020 4:05
     Case 18-33730-hdh11 Doc 296-1 Filed 11/16/20 Entered 11/16/20 15:45:53 Page 18 of 54FELICIA PITRE
1      ESERVE
    CIT]
    CIT/  Case 3:20-cv-03281-N Document 1 Filed 10/30/20 Page 18 of 54 PageID 18        DISTRICT CLERK
                                                                                                                              DALLAS     00.,   TEXAS
                                                                                                                       JAVIER HERNANDEZ DEPUTY
                                                                            DC
                                                                            DC-20-1 4089
                                                                               20 14089

                                                    CAUSE NO.

                                                                             §
            MEDARC, LLC, as Collection Agent for                             §                      IN   THE DISTRICT COURT
            Jeffrey H. Mims, Trustee of
                                     0f the Liquidating                      §
                  0f Revolution Monitoring, LLC,
            Trust of                                                         §
            Revolution Monitoring Management, LLC, and                       §
            Revolution Neuromonitoring,            LLC                       §                     DALLAS COUNTY, TEXAS
                                                                             §
                               Plaintiff,                                    §
                                                                                                101ST
                    V.



            MERITAIN HEALTH,                INC.
                                                                             §
                                                                             §
                                                                             §
                                                                             §
                                                                                                   —         JUDICIAL DISTRICT



                               Defendant.


                                         PLAINTIFF’S ORIGINAL PETITION


           TO THE HONORABLE COURT:

                   Plaintiff   MedARC, LLC,          as Collection           Agent   for Jeffrey H.      Mims, Trustee 0f
                                                                                                                       of   the


                             of Revolution Monitoring,
           Liquidating Trust 0f                                        LLC, Revolution Monitoring Management, LLC, and

           Revolution Neuromonitoring,             LLC   ﬁles   its   Original Petition against Defendant and respectfully shows


           as follows:


                                                                 DISCOVERY

                   1.      Discovery should be conducted under Level                   Two pursuant t0     Rule 190.

                                                         RULE 47 STATEMENT
                   2.      As    prescribed by Rule 47, Plaintiff seeks monetary relief over $1,000,000.


                                                         SUMMARY OF CASE
                   3.      This     is   an action by     MedARC, LLC,            as collection agent for Jeffrey H.     Mims,

           Trustee 0f the Liquidating Trust 0f Revolution Monitoring,                          LLC, Revolution Monitoring

           Management, LLC, and Revolution Neuromonitoring,                          LLC   (collectively “Revolution”) against


           Defendant for       failure    t0
                                          to   properly reimburse Revolution for medical services rendered to
                                                                                                           t0
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  insureds/patients. Revolution obtained assignments 0f beneﬁts                     from   its   patients,   who   are the


  insureds 0f Defendant.              Revolution provided medical services t0 those patients for the claims             at


  issue.   Revolution then properly and timely submitted claims for reimbursement t0 Defendants for


  the services      it   provided. Defendant failed t0 properly reimburse Revolution pursuant t0 the terms


  0f the employee beneﬁt plans 0r insurance contracts covering those patients for the services that


  Revolution rendered. Defendant failed t0 reimburse Revolution for claims for the provision of


  critical     medical services.


               4.         As   explained more fully below, Revolution’s Second Joint Plan 0f Reorganization


  and Plan Supplement granted               Plaintiff standing t0 pursue Revolution’s assigned claims against


  Defendant         t0    seek compensation for the services, which Revolution rendered and which


  Revolution and Revolution’s Liquidating Trust are                   owed under the   health beneﬁt plan.1


                                               PARTIES AND SERVICE

               5.         Plaintiff   MedARC, LLC         serves as the Collection     Agent     for Jeffrey H.    Mims,

  Trustee 0f the Liquidating Trust 0f Revolution Monitoring,                         LLC, Revolution Monitoring

  Management, LLC, and Revolution Neuromonitoring, LLC, pursuant                         t0 the   Bankruptcy Plan and

  Plan Supplement.             MedARC, LLC      is    a limited liability   company organized     in the State   0f Texas


  with   its   principal place ofbusiness at      3400    Carlisle,   N0. 550, Dallas, Texas 75204, which is located

  in the   Northern District 0f Texas.


               6.         Revolution Monitoring       LLC    is   a Texas limited liability company, and prior to      its



  bankruptcy,       its   ofﬁces were located    at   4925 Greenville Ave., Suite 200, Dallas,       TX 75206, which



  1
   The Revolution Monitoring, LLC bankruptcy petition was ﬁled in the Northern District of Texas (Dallas Division)
  on September 27, 2018, and it is currently pending as case no. 3:18-bk—33730. The Revolution Monitoring
  Management bankruptcy petition was ﬁled in the Northern District of Texas on October 5, 2018, and it is currently
  pending as case no. 3:18-bk-33731. The Revolution Neuromonitoring, LLC bankruptcy petition was ﬁled in the
  Northern District of Texas on October 5, 2018, and it is currently pending as case no. 3:18-bk-33732.
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  is located in the Northern District of Texas. Revolution Monitoring, LLC’s current principal place

  of business is 6437 Southpoint Dr., Dallas, TX 75248, which is located in the Northern District of

  Texas. Revolution Monitoring Management LLC and Revolution Neuromonitoring LLC are

  affiliates of Revolution Monitoring LLC.

         7.        Defendant Meritain Health, Inc. (“Defendant”) is a corporation organized in the

  State of New York and headquartered at 300 Corporate Parkway #100S, Amherst, NY 14226.

  Defendant may be served through its registered agent, CT Corporation System at 1999 Bryan

  Street, Suite 900, Dallas, Texas 75201.

                                   JURISDICTION AND VENUE

         8.        Jurisdiction is proper in this Court because the amount exceeds this Court’s

  minimum jurisdictional limit. On information and belief, Plaintiff’s claims do not arise under

  29 U.S.C. §§ 1001, et seq., the Employment Retirement Income Security Act (“ERISA”).

         9.        Pursuant to Section 15.002(a)(1) of the Texas Civil Practice and Remedies Code,

  venue is proper in this county, given that a substantial part of the events or omissions giving rise

  to the claims occurred in Dallas County, Texas.

                                     FACTUAL BACKGROUND

         A.        Procedural Backdrop

         10.       Prior to bankruptcy, Revolution was a medical provider that offered intraoperative

  neurophysiological monitoring (“IONM” or “IOM”) medical services to neuro, orthopedic,

  vascular, and ear, nose and throat (ENT) surgeries, operating around delicate parts of the nervous

  system. These medical services were primarily provided in spinal, cranial, facial, throat, and

  peripheral (e.g. arms, legs, hand and feet) surgeries. Their teams consisted of seasoned

  professionals.




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                   11.      IONM     technology allows monitoring of the state of the nervous system in “real-

  time” during surgery to alert surgeons of potential evolving neurologic injury and                             may   allow for


  corrective actions to be implemented to prevent permanent deﬁcits, thus improving safety and


  surgical          outcomes? The technology allows a surgeon                     to   know, while the patient   is still   0n the

  table       and under anesthesia, Whether something has gone wrong, giving the surgeon the                           ability to


  address the problem Without a second surgery, or in the worst case, Without crippling or even


  killing the patient.


                                                                                                                                 ”
                   12.      Healthcare providers, such as Revolution, are classiﬁed as either “in-networ

                                                            ”
  medical providers or “out—of—networ                           medical providers. In-network medical providers have pre-


  determined rates with health insurance companies. Out-of—network medical providers do not have


  pre-determined rates with health insurance companies. Health insurance companies are required


  to   pay     for out-of—network services in accordance With the health                    beneﬁt plan.

                   13.      Patients   pay signiﬁcantly higher health insurance premiums for out-of-network

  health beneﬁts in order t0 have access t0 out-of—network medical providers. Patients pay these


  higher premiums, at least in part, for assurance and peace of mind that they Will be able to obtain


  necessary medical services from the physician, medical provider, and medical facility 0f their


  choice.


                   14.      Defendant        is   in the business      of providing, underwriting and/or administering

  various forms of health insurance. Through these plans, Defendant reimburses insureds for certain




  2
       See,    e.g.,     http://med.stanford.edu/neurologv/divisions/neuromonitoring.html       (explaining   how IONM      works);
  https://persona1.utdallas.edu/~golden/ionm/                     (providing     another       explanation       of         IONM);
  hgps://www.ncbi.nlm.nih.gov/pmc/articles/PMC3 763097/ (explaining “Intraoperative neurophysiological monitoring
  (IOM)       is   now an    integral part   0f   many   surgical procedures”); https://www.asnm.org/page/Historv (describing the
  history of the         American Society of Neurophysiological Monitoring).
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  health care expenses, subject to the terms, conditions, and benefit limitations set forth under the

  plans.

           15.   The claims at issue relate to health benefit plans that were either fully-insured or

  self-insured. Under a fully-insured plan, an employer or an individual contracts with an insurance

  company, which assumes financial responsibility for the payment of medical claims and

  administrative costs. Under a self-insured plan, an employer acts as the insurer, assuming financial

  responsibility for payment of medical claims. In the self-insured context, employers retain the

  services of insurance companies, such as Defendant, to administer their self-insured health benefit

  plans. In administering the self-insured plans at issue in this case, Defendant exercised

  discretionary authority over the management of the plans, the disposition of the plan assets, and

  the adjudication of claims.

           16.   Defendant underwrites and/or administers the health insurance benefits of

  numerous insureds (“Insureds”) in the State of Texas and, on information and belief, in other states.

           17.   On information and belief, the Insureds are covered by ERISA-exempt health

  benefit plans, which are issued by governmental agencies, churches, or plans (or insurance

  contracts) acquired by individuals, and not through a private employer.

           18.   On information and belief, Defendant was the claim administrator and administered

  each and every claim at issue in this lawsuit. Defendant exercised discretion, control, authority

  and/or oversight in the administration of each of the claims. Specifically, Defendant interpreted

  the health benefit plan documents, distributed benefits under the plan terms, and determined the

  amount, if any, to pay Revolution for medical services under these claims.

           19.   Defendant acted as the de facto plan administrator for each and every claim at issue

  in this lawsuit. Defendant exercised control over the health benefit plans generally and assumed




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  responsibility for providing plan documentation to participants and/or their agents. Defendant

  either undertook and performed the duties of the plan administrator, and/or were delegated the

  administrator’s duties by the health benefit plan.

         20.     Revolution rendered medical services to the Insureds and was supposed to be paid

  by Defendant directly for providing such medical services through the issuance of benefits under

  the terms of the health benefit plans. Each of these services was reported by Revolution or Plaintiff

  to Defendant for reimbursement purposes pursuant to the American Medical Association’s Current

  Procedural Terminology (“CPT”), which is used by licensed providers in submitting health

  insurance benefit claims to third party payers, including insurers such as Defendants.

         B.      MEDICAL SERVICES, CLAIMS, AND DENIALS

         21.     As a matter of policy, Revolution followed the same process for each and every

  claim as described below.

         22.     This process is routine for Revolution’s business and within the health care

  industry, and follows the procedures set forth in the health benefit plan documents.

         23.     Revolution received orders from physicians requiring the scheduling of medical

  services to be performed by Revolution at the physician’s surgical facility. The orders contained

  (among other things) the patient’s name, contact information, and identified the medical services

  to be performed.

         24.     As a matter of policy and procedure, before Revolution rendered reasonable and

  necessary medical services for any of the claims at issue, Revolution received verification by

  telephone from Defendant that each patient was covered by a health benefit plan that provided out-

  of-network benefits. Revolution obtained verification from Defendant that the particular

  procedures were covered by the relevant health benefit plan and would be paid in accordance with

  the health benefit plan. During the verification process, Defendant failed to identify, allege, assert,


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  or rely on any exclusions, conditions, or other prerequisites within the relevant health benefit plans,

  including but not limited to any anti-assignment provisions. Revolution would not have provided

  these services to these patients without first obtaining this verification from Defendant.

           25.   Following the verification process, the physician scheduled the medical services

  with the patient, and informed Revolution of the relevant information to ensure that Revolution

  was available to perform medical services.

           26.   As a matter of policy, each Insured treated by Revolution signed an assignment of

  benefits form (“Assignment of Benefits”). The executed Assignment of Benefits transferred and

  assigned to Revolution the following non-exhaustive list of rights and interests: (1) the rights and

  interest to collect and be reimbursed for the medical service(s) performed for the patient; (2) the

  rights and interest to obtain plan documents and other related documentation and information by

  both provider and its attorney; (3) the rights and interest to any legal or administrative claims and

  causes of action; (4) the right to bring legal action, if needed, against the insurer or health benefits

  plan to recover costs or enforce coverage; and (5) the reasonable assistance of the patient in

  pursuing third-party payments.

           27.   Pursuant to these Assignments of Benefits, Revolution and thus Plaintiff have

  standing to pursue claims for benefits on behalf of the Insureds under the laws of the State of

  Texas.

           28.   Following treatment, pursuant to the Assignment of Benefits, Revolution was

  entitled to payment from Defendant, and thus directly submitted to Defendant claims forms for

  reimbursement of services rendered to the Insureds.

           29.   Defendant is obligated under the health benefit plans to pay in accordance with the

  Insureds’ right to receive reimbursement for out-of-network care.




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         30.     After medical services were performed, Revolution properly and timely submitted

  claims through Defendant’s designated claims-handling channels. Defendant either denied the

  claims outright or drastically underpaid the claims. Once again, Defendant failed to identify,

  allege, assert, or rely on any exclusions, conditions, or other prerequisites within the health benefit

  plan, including but not limited to any anti-assignment provisions.

         31.     After Defendant either denied or underpaid the claims, Revolution or Plaintiff

  properly and timely appealed the non-payment or underpayment of the claims through Defendant’s

  designated appeals channels. Defendant denied each and every appeal for each and every claim at

  issue in this lawsuit, thereby exhausting Revolution and Plaintiff’s administrative remedies.

  Defendant failed to provide a specific reason or reasons for the adverse determination, failed to

  reference the specific plan provisions on which the determination was based, failed to identify,

  allege, assert, or rely on any exclusions, conditions, or other prerequisites within the health benefit

  plans, including but not limited to any anti-assignment provisions, and failed to identify and

  provide a copy of the internal rule, guideline, protocol or other similar criterion that was relied

  upon in making the adverse determination.

         32.     As a result of Defendant’s repeated failure to identify, allege, assert, or rely on any

  exclusions, conditions, or other prerequisites within the health benefit plans, Defendant has waived

  and is thereby estopped from asserting as such, including by not limited to any anti-assignment

  provisions.

         33.     Under the doctrine of laches, Defendant unreasonably delayed identification,

  assertion, or reliance on any exclusions, conditions, or other prerequisites within the health benefit

  plans including, by not limited to any anti-assignment provisions.




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         34.     Despite multiple opportunities, Defendant failed to identify, allege, assert, or rely

  on any exclusions, conditions, or other prerequisites within the health benefit plans. As a matter

  of policy, Revolution would not have provided these services had Defendant identified such

  conditions reasonably prior to the medical services in question. Any attempt by Defendant to assert

  any exclusions, conditions, or prerequisites after a substantial amount of time, is prejudicial to

  Revolution and Plaintiff. Therefore, Defendant is barred from enforcing any exclusions,

  conditions, or other prerequisites within the health benefit plans.

         35.     Revolution billed Defendant amounts representing the usual and customary rate for

  the particular medical services in and around the counties in which the services were performed.

  On information and belief, Defendant paid much less than the amount billed for the services

  rendered.

         36.     For each claim at issue, Defendant failed to pay benefits in accordance with the

  plan document. The plan document establishes payment for out-of-network medical services based

  on an “allowable amount.” The payment amounts for such reasonable and necessary medical

  services were drastically lower than any other recognizable third-party commercial or government

  payor in the health insurance industry. Through Revolution’s and Plaintiff’s experience and

  established industry standards, the payment of such low amounts to out-of-network medical

  providers for the rendering of medical treatment is unprecedented. Furthermore, the course of

  dealings between Revolution and Defendant demonstrates payment reimbursements at

  significantly higher rates than those made for the claims alleged in this case.

         37.     Moreover, based on information and belief, payment of such low amounts for

  reasonable and necessary medical services is drastically lower than any possible source on which

  the respective health benefit plan’s allowable amount language may be based.




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         38.     On information and belief, these non-ERISA plans, within this litigation, are

  categorized as government plans and private plans. Government plans are those in which state or

  local government entities contract with Defendant to administer health benefits to their employees.

  Private plans are those in which individuals contract with Defendant to administer health benefits.

  These plans are governed by Texas state law. Plaintiff currently lacks complete information

  concerning the plans or affiliates responsible for the failure to pay in accordance with the plan

  documents. Accordingly, Plaintiff reserves the right to amend this petition in order to address any

  state-law claims that may arise under or be governed by the laws of a state, other than Texas.

         C.      DEFENDANT’S BAD CONDUCT

         39.     Defendant inappropriately denied certain claims submitted by Revolution seeking

  payment for IONM medical services provided to Insureds. The services were medically

  appropriate and necessary, covered by the applicable plan terms, and the claims should have been

  paid to Revolution as the Insureds’ lawful assignee.

         40.     Defendant, without proper justification and in violation of the plan terms, stopped

  paying Revolution for many services provided to the Insureds.

         41.     Defendant indiscriminately denied payment for most claims and services based on

  an unsupported and erroneous assertions,

         42.     Defendant’s treatment of Revolution’s appeals of adverse benefits determinations

  was contrary to the terms of applicable health benefit plans.

         43.     In addition, Defendant made claims determinations that had the effect of

  reimbursing less than the percentage of actual charges actual charges required by the applicable

  health benefit plans.




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         D.      REVOLUTION’S BANKRUPTCY

         44.     Defendant’s refusal to pay Revolution continued until the point in time in 2018,

  when Defendant’s misconduct forced Revolution to cease operations and seek relief under the

  Bankruptcy Code.

         45.     Between September 27, 2018 and October 5, 2018, Revolution filed voluntary

  petitions for relief under Chapter 11 of Title 11 of the United States Code (“Bankruptcy Code”) in

  the Northern District of Texas.

         46.     On July 23, 2019, the Court entered an Order confirming the Debtors’ Second Joint

  Plan of Reorganization (“Plan”), which among other things, provided for the creation of a

  Liquidating Trust, appointment of Jeffrey H. Mims as Liquidating Trustee, and the appointment

  of Plaintiff to serve as Collection Agent. In accordance with the Plan, on August 5, 2019, the Plan

  Supplement and Liquidating Trust Agreement were filed.

         47.     Pursuant to the Plan and Plan Supplement, Plaintiff has standing to pursue

  Revolution’s claims against Defendant, and any net recovery will be used to pay creditors of the

  Debtors pursuant to the Plan and Plan Supplement.

                                      CAUSES OF ACTION
  COUNT 1 – STATE LAW – BREACH OF CONTRACT

         48.        The allegations contained above are re-alleged and incorporated herein as if set

  forth verbatim.

         49.     Plaintiff brings this action as an assignee to recover benefits due under Texas state

  law. Plaintiff is entitled to recover benefits for medical services provided by Revolution to patients

  from whom Revolution received an Assignment of Benefits. Revolution received an Assignment

  of Benefits for each claim at issue.




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         50.     With respect to government plans, Texas government entities entered into contracts

  with Defendant to administer health benefits to their employees. Under these contracts, Defendant

  agreed to administer out-of-network benefits in accordance with the health benefit plans.

  Specifically, Defendant agreed to pay claims in accordance with the allowable amount. The

  allowable amount establishes payment for out-of-network medical services and is found within the

  health benefit plan. In turn, governmental employees paid higher premiums for out-of-network

  coverage and benefits.

         51.     These premiums constitute good and valuable consideration that Defendant

  received from their insureds and/or their employers in exchange for providing certain insurance

  benefits under the health benefit plans, including out-of-network coverage and benefits.

         52.     Government employees are third-party beneficiaries to contracts entered between

  Defendant and Texas government entities. Government employees are parties to the health benefit

  plans entered between Texas government entities and its employees.

         53.     Moreover, under Texas state law, multiple instruments may be construed together

  and treated as one contract. Defendant and government entities enter into contracts for the ultimate

  purpose of administering health benefits to government employees in accordance with the health

  benefit plan. Specifically, Defendant agrees to pay claims in accordance with the allowable amount

  found within the health benefit plan. Defendant must reference the health benefit plan to properly

  determine the allowable amount.

         54.     Revolution provided medical treatment to the Insureds and submitted appropriate

  bills directly to Defendant for said medical services in accordance with the terms of the health

  benefit plans and Texas law.




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          55.     Revolution has otherwise complied with all terms of the health benefit plans, the

  benefits of which have been lawfully assigned to Revolution, including the right to assert legal

  claims to enforce rights thereunder.

          56.     Defendant’s failure to pay out-of-network benefits in accordance with the allowable

  amount within the health benefit plan breached the contractual agreements to administer health

  benefits to government employees.

          57.     With respect to private plans, individuals contracted with Defendant to administer

  health benefits. Under these contracts, Defendant agreed to provide out-of-network benefits for

  medical services rendered. In turn, individuals paid higher premiums for out-of-network coverage

  and benefits.

          58.     Defendant’s failure to pay out-of-network benefits in accordance with the allowable

  amount within the health benefit plan breached the contractual agreements to administer health

  benefits to individuals.

          59.     Patients remain personally liable for the billed charges incurred as a result of

  reasonable and necessary medical services received. Defendant’s failure to pay in accordance with

  the health benefit plan resulted in actual injury to the patient.

          60.     As a direct or proximate result of Defendant’s material breaches of contract and

  non-payment for services duly rendered, Revolution, and by extension Plaintiff, have suffered

  damages.

          61.     Pursuant to Chapter 38 of the Texas Civil Practice & Remedies Code, given the

  presentment of the referenced claims, Plaintiff is also entitled to recover from Defendant all

  reasonable attorney’s fees and court costs.




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  COUNT 2 – STATE LAW – PROMISSORY ESTOPPEL

         62.     The allegations contained above are re-alleged and incorporated herein as if set

  forth verbatim.

         63.     Plaintiff asserts promissory estoppel on behalf of the Liquidating Trustee of

  Revolution’s estate, separate and apart from any assignment of benefits.

         64.     As a matter of policy and procedure, before Revolution rendered reasonable and

  necessary medical services for any of the claims at issue, Revolution received verification by

  telephone from Defendant that each patient and the particular procedures were covered by a health

  benefit plan. Additionally, Defendant verified that Revolution would be paid a reasonable amount

  for the services rendered. Revolution would not have provided these services to these patients

  without first obtaining this verification from Defendant.

         65.     Revolution substantially and reasonably relied to its detriment on the promises

  made by Defendant. Revolution would not have provided services without such promises.

  Defendant knew or should have known that Revolution would rely upon the promises.

         66.        Because Revolution reasonably relied on Defendant’s promises, and such reliance

  was foreseeable to Defendant, Revolution and thus Plaintiff suffered damages in an amount to be

  determined at trial.

  COUNT 3 – QUANTUM MERUIT

         67.     The allegations contained above are re-alleged and incorporated herein as if set

  forth verbatim.

         68.     Revolution provided services and other things of value to Defendant and the

  Insureds (i.e. medical services).

         69.     Defendant and the Insureds accepted the services or other things of value.

         70.     Defendant has not paid for such services and things of value.


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Case 18-33730-hdh11 Doc 296-1 Filed 11/16/20 Entered 11/16/20 15:45:53 Page 32 of 54
     Case 3:20-cv-03281-N Document 1 Filed 10/30/20 Page 32 of 54 PageID 32



          71.      Plaintiff, as Collection Agent for the Liquidating Trustee of Revolution’s estate, is

  entitled to payment from Defendant for the reasonable value of the services rendered in an amount

  to be proven at trial.

                                      PRAYER FOR RELIEF
          Plaintiff respectfully requests the court enter an order, including but not limited to

  declaratory relief with respect to the violations of ERISA, which also:

                A. Awards Plaintiff compensatory damages on all claims in the amount to be
                   established at trial;

                B. Awards Plaintiff its attorneys’ fees on its state law claims pursuant to the Texas
                   Civil Practices and Remedies Code section 38.001;

                C. Awards Plaintiff pre-judgment and post-judgment interest at the highest rate
                   allowed plus its taxable court costs.

                D. Awards Plaintiff all such other and further relief as the Court deems just and proper
                   under the circumstances.




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Case 18-33730-hdh11 Doc 296-1 Filed 11/16/20 Entered 11/16/20 15:45:53 Page 33 of 54
     Case 3:20-cv-03281-N Document 1 Filed 10/30/20 Page 33 of 54 PageID 33



                                       Respectfully submitted,

                                       CHERRY PETERSEN LANDRY ALBERT LLP

                                       By:    /s/   Craig A. Albert
                                                    Craig A. Albert
                                                    Texas Bar No. 00790076
                                                    Email: calbert@cplalaw.com
                                                    Jonathan A. Aldaco
                                                    Texas Bar No. 24093770
                                                    Email: jaldaco@cplalaw.com


                                       8350 North Central Expressway, Suite 1500
                                       Dallas, Texas 75206
                                       (214) 265-7007 Telephone
                                       (214) 265-7008 Facsimile


                                      ATTORNEYS FOR PLAINTIFF
                                      MEDARC, LLC




                                         16
 Case 18-33730-hdh11 Doc 296-1 Filed 11/16/20 Entered 11/16/20 15:45:53 Page 34 of 54
       Case 3:20-cv-03281-N Document 1 Filed 10/30/20 Page 34 of 54 PageID 34
                         Automated Certificate of eService
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certificates of service have not changed. Filers must still provide a
certificate of service that    complies with     all   applicable rules.

Fannie Shelby on behalf of Craig Albert
Bar No. 00790076
fbshelby@cplalaw.com
Envelope ID: 46594279
Status as of 9/28/2020 9:24 AM CST

Associated Case Party:    MEDARC, LLC

 Name                   BarNumber   Email                  TimestampSubmitted       Status

Craig Albert                        calbert@cp|alaw.com    9/25/2020 4:05:54   PM   SENT
 Fannie Burton-Shelby               fbshelby@cplalaw.com   9/25/2020 4:05:54   PM   SENT
 Debbie Noah                        dnoah@cplalaw.com      9/25/2020 4:05:54   PM   SENT
Jonathan Aldaco                     jaldaco@cplalaw.com    9/25/2020 4:05:54   PM   SENT
Case 18-33730-hdh11 Doc 296-1 Filed 11/16/20 Entered 11/16/20 15:45:53 Page 35 of 54
     Case 3:20-cv-03281-N Document 1 Filed 10/30/20 Page 35 of 54 PageID 35




                         Exhibit C
                 Case 18-33730-hdh11 Doc 296-1 Filed 11/16/20 Entered 11/16/20 15:45:53 Page 36 of 54
                      Case 3:20-cv-03281-N Document 1 Filed 10/30/20 Page 36 of 54 PageID 36
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FORM NO. 353-3 - CITATION                                1                                                          ESERVE
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THE STATE OF TEXAS                                  ip
                                                                                                                   CITATION
To:
        MERITAIN HEALTH,INC.
                                                                                                                  DC-20-14089
        SERVING ITS REGISTERED AGENT CT CORPORATION SYSTEM
        1999 BRYAN STREET SUITE 900
        DALLAS TEXAS 75201
                                                                                                                  MEDARC,LLC
                                                                                                                       vs.
GREETINGS:                                                                                                    MERITAIN HEALTH,INC
You have been sued. You may employ an attorney. If you or your attorney do not file a written
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may be              ISSUED THIS
taken against you. Your answer should be addressed to the clerk of the 101st District Court at 600          28th day of September,2020   I
Commerce Street, Ste. 101, Dallas, Texas 75202.

Said Plaintiff being MEDARC,LLC,AS COLLECTION AGENT FOR JEFFREY H. MIMS,TRUSTEE OF                              FELICIA PITRE
THE LIQUIDATING TRUST OF REVOLUTION MONITORING,LLC,REVOLUTION MONITORING                                       Clerk District Courts,
MANAGEMENT,LLC,AND REVOLUTION NEUROMONITORING,LLC
                                                                                                               Dallas County, Texas
Filed in said Court 25th day,of September,2020 against
                                                                                                           By: DANIEL MACIAS,Deputy '
MERITAIN HEALTH,INC.

For Suit, said suit being numbered DC-20-14089 the nature of which demand is as follows:                         Attorney for Plaintiff
Suit on CNTR CNSMR COM DEBT etc. as shown on said petition, a copy of which accompanies this                      CRAIG A ALBERT
citation. If this citation is not served, it shall be returned unexecuted.                              CHERRY PETERSEN LANDRY+ALBERT
                                                                                                                         LLP
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                            8350 N CENTRAL EXPWY SUITE 1500
Given under my hand and the Seal of said Court at office this 28th day of September, 2020.                        DALLAS TX 75206
                                                                                                                     214-265-7007
ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas
                      1 ----
                          ,                                                                                      calbert@cplalaw.com
                   By                                            ,Deputy
                      ' DA EL MACIAS
                                                                                                          DALLAS COUNTY
                                                                                                           SERVICE FEES
                                                                                                             NOT PAID
                      Case 18-33730-hdh11 Doc 296-1 Filed 11/16/20 Entered 11/16/20 15:45:53 Page 37 of 54
                           Case 3:20-cv-03281-N Document 1 Filed 10/30/20 Page 37 of 54 PageID 37


                                                                        OFFICER'S RETURN
Case No. : DC-20-14089

Court No.101st District Court

Style: MEDARC,LLC

vs.

MERITAIN HEALTH,INC

Came to hand on the                       day of                       ,20              at                o'clock         .M. Executed at

within the County of                                    at               o'clock             .M. on the                   day of

20                    , by delivering to the within named




each, in person, a true copy of this Citation together with the accompanying copy of this pleading, having first endorsed on same date of delivery. The distance actually traveled by

me in serving such process was                miles and my fees are as follows: To certify which witness my hand.
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                                For Notary                    $                               By                                              Deputy

                                                               (Must be verified if served outside the State of Texas.)

Signed and sworn to by the said                                   before me this        day of                            ,20

to certify which witness my hand and seal of office.




                                                                                             Notary Public                         County
  Case 18-33730-hdh11 Doc 296-1 Filed 11/16/20 Entered 11/16/20 15:45:53 Page 38 of 54
       Case 3:20-cv-03281-N Document 1 Filed 10/30/20 Page 38 of 54 PageID 38
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Envelope ID: 46626555
Status as of 9/28/2020 12:48 PM CST

Associated Case Party: MEDARC, LLC

Name           BarNumber Email               TimestampSubmitted      Status

Craig Albert             calbert@cplalaw.com 9/28/2020 12:47:24 PM   SENT
Case 18-33730-hdh11 Doc 296-1 Filed 11/16/20 Entered 11/16/20 15:45:53 Page 39 of 54
     Case 3:20-cv-03281-N Document 1 Filed 10/30/20 Page 39 of 54 PageID 39




                         Exhibit D
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Case 18-33730-hdh11 Doc 296-1 Filed 11/16/20                                                      Entered 11/16/20 15:45:53 Page 40 of 54FELICIA PITRE
     Case 3:20-cv-03281-N Document 1 Filed                                                       10/30/20 Page 40 of 54 PageID 40      DISTRICT CLERK
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   State
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                                                                                                 Dallas                         101st Judicial
                                                                                                                                      Judicial District
                                                                                                                                               District Court


   Case Number: DC—20-14089
   Case         DC-20-14089

   Plaintiff:
   Plaintiff:
   Medarc, LLC,
   Medarc,   LLC,asasCollection
                      CollectionAgent
                                 Agentfor
                                       forJeffrey
                                           JeffreyH.H.Mims,
                                                        Mims, Trustee
                                                            Trustee  ofof the
                                                                        the
   Liquidating Trust
               TrustofofRevolution
                         Revolution Monitoring,
                                    Monitoring, LLC.    Revolution Monitoring
                                                 LLC. Revolution   Monitoring
   Management, LLC,
                 LLC,andand Revolution
                             Revolution Neuromonitoring,
                                         Neuromonitoring, LLC
                                                            LLC
   VS.


   Defendant:
   Mertain Health,
           Health, lnc.
                   Inc.

    For:
   Craig A.
         A. Albert
   8350
   8350 N   Central Expy
         N Central
   Suite
   Suite 800
    Dallas, TX
    Dallas, TX75206
               75206

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                                                                         Street,    Suite900,
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FORM NO. 353-3 CITATION           -                                                                                                                                                            ESERVE
THE STATE OF TEXAS                                                                                                                                                                            CITATION
To:
          MERITAIN HEALTH, INC.                                                                                                                                                               DC-20-14089
          SERVING ITS REGISTERED AGENT CT CORPORATION SYSTEM
          1999 BRYAN STREET SUITE 900
          DALLAS TEXAS 75201                                                                                                                                                                  MEDARC, LLC
                                                                                                                                                                                                     vs.
GREETINGS:                                                                                                                                                                               MERITAIN HEALTH, INC
You have been   sued. You may employ an attorney. If you or your attorney do not ﬁle a written
answer with the clerk who issued this citation by 10 o'clock am. 0f the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may be                                                                                        ISSUED THIS
taken against you. Your answer should be addressed to the clerk ofthe lOISt District Court at 600                                                                                      28th day of September, 2020
Commerce Street, Ste. 101, Dallas, Texas 75202.

Said Plaintiff being MEDARC, LLC, AS COLLECTION AGENT FOR JEFFREY H. MIMS, TRUSTEE OF                                                                                                       FELICIA PITRE
THE LIQUIDATING TRUST OF REVOLUTION MONITORING, LLC, REVOLUTION MONITORING                                                                                                                Clerk District Courts,
MANAGEMENT, LLC, AND REVOLUTION NEUROMONITORING, LLC                                                                                                                                      Dallas County, Texas

Filed in said Court 25th      day of September, 2020               against

                                                                                                                                                                                   By:   DANIEL MACIAS,       Deputy
MERITAIN HEALTH, INC.

For   Suit, said suit   being numbered DC-20-14089, the nature of which demand                        is   as follows:
                                                                                                                                                                                          Attorney for Plaintiff
Suit on   CNTR CNSMR COM DEBT etc. as shown on said petition, a copy of which accompanies this                                                                                          CRAIG A ALBERT
citation. If this citation is not served,     it   shall   be returned unexecuted.                                                                                              CHERRY PETERSEN LANDRY+ALBERT
                                                                                                                                                                                                   LLP
WITNESS: FELICIA PITRE,                Clerk ofthe District Courts of Dallas, County Texas.                                                                                     8350   N CENTRAL EXPWY SUITE           1500
Given under    my hand     and the Seal of said Court         at   ofﬁce   this   28th day of September, 2020.                                                                             DALLAS TX    75206
                                                                                                                                                                                              214—265-7007
ATTEST: FELICIA PITRE,                Clerk ofthe District Courts of Dallas, County, Texas                                                                                                calbert@cplalaw.com

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 Case No.       :   DC-20-14089

 Court No.1015t District Court

 Style:   MEDARC, LLC
 vs.


MERITAIN HEALTH, INC
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Signed and sworn to by the said                                                before   me       this                day of                                                   ,   20                  ,




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                                                                                                                          Notary Public
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 Case 18-33730-hdh11 Doc 296-1 Filed 11/16/20 Entered 11/16/20 15:45:53 Page 43 of 54
       Case 3:20-cv-03281-N Document 1 Filed 10/30/20 Page 43 of 54 PageID 43
                         Automated Certificate of eService
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on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that    complies with     all   applicable rules.




Envelope ID: 46951526
Status as of 10/7/2020 12:28         PM CST
Associated Case Party:    MEDARC, LLC

 Name                   BarNumber   Email                  TimestampSubmitted       Status

Craig Albert                        calbert@cp|alaw.com    10/7/2020 9:16:44   AM   SENT
 Fannie Burton-Shelby               fbshelby@cplalaw.com   10/7/2020 9:16:44   AM   SENT
 Debbie Noah                        dnoah@cplalaw.com      10/7/2020 9:16:44   AM   SENT
Jonathan Aldaco                     jaldaco@cplalaw.com    10/7/2020 9:16:44   AM   SENT
Case 18-33730-hdh11 Doc 296-1 Filed 11/16/20 Entered 11/16/20 15:45:53 Page 44 of 54
     Case 3:20-cv-03281-N Document 1 Filed 10/30/20 Page 44 of 54 PageID 44




                         Exhibit E
                                                                                                                                                              FILED
                                                                                               AM                                                10/23/2020 9:20
Case 18-33730-hdh11 Doc 296-1 Filed 11/16/20 Entered 11/16/20 15:45:53 Page 45 of 54FELICIA PITRE
     Case 3:20-cv-03281-N Document 1 Filed 10/30/20 Page 45 of 54 PageID 45        DISTRICT CLERK
                                                                                                                                             DALLAS CO., TEXAS
                                                                                                                                           Miranda Lynch DEPUTY



                                      CAUSE NO. DC-20-14089
   MEDARC, LLC, as Collection Agent                                                                 IN   THE DISTRICT COURT OF
   for Jeffrey H.   Mims, Trustee 0f the
   Liquidating Trust 0f Revolution
   Monitoring, LLC, Revolution
   Monitoring Management, LLC, and
   Revolution Neuromonitoring, LLC,

                                                       OOOOOOOOOOOOOOOOOOOOOOOOOOOOOOOOOOOOOOOOOO




          Plaintiff,                                                                                     DALLAS COUNTY, TEXAS

   V.


   MERITAIN HEALTH INC.,

          Defendant.                                                                                     101st   JUDICIAL DISTRICT


          DEFENDANT MERITAIN HEALTH INC.’S ORIGINAL ANSWER


         Defendant Meritain Health          Inc. (“Meritain”) ﬁles this Original                                         Answer   in response


  to the Original Petition     ﬁled by Plaintiff     MedARC,                                        as Collection       Agent   for Jeffrey H.


  Mims, Trustee 0f        the Liquidating Trust 0f Revolution Monitoring,                                                  LLC, Revolution

  Monitoring Management, LLC, and Revolution Neuromonitoring,                                                     LLC (“MedARC”).

                                               General Denial

         Meritain asserts a general denial pursuant t0 Texas Rule 0f Civil Procedure 92,


  reserving the right to    amend   its   pleadings subsequently to present                                       its   special exceptions to


  Plaintiff’s Original Petition, its        afﬁrmative defenses, special denials, other pleas and


  defenses, and   its   own respective     claims.
Case 18-33730-hdh11 Doc 296-1 Filed 11/16/20 Entered 11/16/20 15:45:53 Page 46 of 54
     Case 3:20-cv-03281-N Document 1 Filed 10/30/20 Page 46 of 54 PageID 46



         WHEREFORE, PREMISES CONSIDERED,                        Meritain prays that the Court enter


  judgment that   MedARC takes nothing on its claims,          and    that Meritain    be awarded   its   costs


  0f court, attorneys’   fees,   and such other and further relief t0 which     it   may be justly entitled.


                                                  Respectfully submitted,


                                                  By: /S/J0hn B. Shely
                                                       JOHN B. SHELY
                                                       State   Bar N0. 182 1 5300
                                                      jshely@Hunt0nAK.com
                                                       M. KATHERINE           STRAHAN
                                                       State   Bar N0. 24013584
                                                       kstmhan@Hunt0nAK.com
                                                       KELSEY J. HOPE
                                                       State   Bar N0. 24092538
                                                       kelseyhope@Hun tonAK. com
                                                       HUNTON ANDREWS KURTH LLP
                                                       600 Travis      Street, Suite   4200
                                                       Houston, Texas 77002
                                                       Telephone: (713) 220—4200
                                                       Facsimile:       (713) 220-4285


                                                       ATTORNEYS FOR DEFENDANT
                                                       MERITAIN HEALTH INC.




                    Defendant Meritain Health      Inc. ’s Original   Answer — Page 2
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                                                CERTIFICATE OF SERVICE

         hereby certify that on October 23, 2020 a true and correct copy 0f the foregoing
                 I

  document was served on the below listed counsel of record Via email and the Court’s e-
  ﬁling system:

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                                                                     /S/J0hn B. Shelv
                                                                        John B. Shely




                                   Defendant Meritain Health   Inc. ’s Original   Answer — Page   3

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Lindsey Coan on behalf of John Shely
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                         Exhibit F
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                                  CAUSE NO. DC-20-14089



   MEDARC, LLC, as Collection Agent for        §           IN THE DISTRICT COURT OF
   Jeffrey H. Mims, Trustee of the             §
   Liquidating Trust of Revolution             §
   Monitoring, LLC, Revolution Monitoring      §
   Management, LLC, and Revolution             §
   Neuromonitoring, LLC                        §
                                               §               DALLAS COUNTY, TEXAS
          Plaintiff,                           §
                                               §
   v.                                          §
                                               §
   MERITAIN HEALTH INC.                        §
                                               §
          Defendant.                           §               101st JUDICIAL DISTRICT


                       NOTICE OF REMOVAL OF STATE COURT ACTION


         You are hereby notified that on October 30, 2020, a Notice of Removal of Civil

  Action was filed in the United States District Court for the Northern District of Texas,

  Dallas Division. The Notice was filed in reference to Cause No. DC-20-14089, MedARC,

  LLC, as Collection Agent for Jeffrey H. Mims, Trustee of the Liquidating Trust of

  Revolution Monitoring, LLC, Revolution Monitoring Management, LLC, and Revolution

  Neuromonitoring, LLC v. Meritain Health Inc., then pending in the 101st Judicial District

  Court, Dallas County, Texas, and a true and correct copy of the Notice of Removal of Civil

  Action, which reflects the federal civil action number, is attached hereto as Exhibit A.
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                                                Respectfully submitted,

                                                By: /s/ John B. Shely
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                                                ATTORNEYS FOR DEFENDANT
                                                MERITAIN HEALTH INC.


                                     CERTIFICATE OF SERVICE

          I hereby certify that on October 30, 2020 a true and correct copy of the foregoing
  document was served on the below listed counsel of record via email and the Court’s e-
  filing system:

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                                                    /s/ John B. Shely
                                                       John B. Shely



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                         Exhibit G
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                                                                          Dallas Division
   MedARC, LLC, as Collection Agent for Jeffrey H. Mims, Trustee of the Liquidating Trust of
   Revolution Monitoring, LLC, Revolution Monitoring Management, LLC, and Revolution
   Neuromonitoring, LLC.




   Meritain Health Inc.




   Meritain Health Inc.




   Meritain is a New York corporation owned by Prodigy Health Group Inc. which is an indirect
   wholly-owned subsidiary of CVS Health Corporation, which is a publicly traded corporation.




   Parties: MedARC, LLC, as Collection Agent for Jeffrey H. Mims, Trustee of the Liquidating
   Trust of Revolution Monitoring, LLC, Revolution Monitoring Management, LLC, and
   Revolution Neuromonitoring, LLC and Meritain Health Inc.

   Counsel of Record: Craig A. Albert, Jonathon A. Aldaco, Cherry Peterson Landry Albert LLP,
   John B. Shely, M. Katherine Strahan, Kelsey J. Hope, Tonya Gray, and Hunton Andrews Kurth
   LLP.
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                                                     October 30, 2020
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